                       Case 1:18-cr-00066-DKC Document 101 Filed 11/20/18 Page 1 of 6
heet I - Judgment in a Criminal Case with Supervised Release (Rev. 04!2018)                                                        Jud!Wlent Page I of 6



                                       United States District Court
                                                            District of Maryland
              UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                                                              (For Offenses Committed on or After November I, 1987)
                                      v.
                                                                              Case Number: DKC-I-18-CR-00066-001
          DONALD MARCELL RIVERS, JR.
                                                                              Defendant's Attorney: AFPDs Katherine Tang
                                                                              Newberger, Rebecca Talbott
                                                                              Assistant U.S. Attorney: Christine Lisa Duey
                                                                                                               -_       FILED     __       ENTERED
                                                                                                               -_       LOGGED    __       RECEIVED
THE DEFENDANT:
IZI pleaded guilty to count(s) 2 and 3 of the superseding indictment
                                                                                                                       NOV 20 2018
o pleaded nolo contendere to count(s) __ , which was accepted by the court.
o was found guilty on count(s) __ after a plea of not guilty.                                                             AT GREENBELT
                                                                                                                    CLERK, U.S. DISTRICT COURT      U
                                                                                                                      DISTRICT OF MARYLAND        "'{'

                                                                                                         DlI'!'e                           Co LIlI'fllTY
              Title & Section                                    Nature of Offense                Offense Concluded                      Number!,)

    18 U.S.c.     9 2113(a),(d)       & ([)                 Armed Bank Robbery                        1/09/2018                                  2s

          18 U.S.C.      9 924(c)                   Brandishing A Firearm During A                    1/09/2018                                  3s
                                                           Crime Of Violence

    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through    6 of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker, 543 U.S. 220 (2005).

o    The defendant has been found not guilty on count(s) __
IZI The original indictment and Counts I. 4. and 5 of the superseding indictment are dismissed on the motion of
     the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.


                                                                               November 19, 2018
                                                                              Date of Imposition of Judgment


                                                                                Jta..ca~,;C~~                              /(/l<J!Lf
                                                                                                                             r    •
                                                                              Deborah K. Chasanow                      Date
                                                                              United States District Judge


Name of Court Reporter: Renee Ewing
                       Case 1:18-cr-00066-DKC Document 101 Filed 11/20/18 Page 2 of 6
Sheet 2 - Judgment in a Criminal Case with Supervised Release (Rev. 0412018)                                               Judgment Page 2 of 6
 DEFENDANT:           Donald Marcell Rivers, Jr.                                                   CASE NUMBER: DKC-I-18-CR-00066-001


                                                                IMPRISONMENT
    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 168 months, consisting of 84 months as to count 2s and a consecutive term of 84 months as
to count 3s.

~ The court makes the following recommendations to the Bureau of Prisons: placement at Cumberland, MD
so as to be as close to home as possible, and participation in any drug treatment program for which he might be
eligible.

~ The defendant is remanded to the custody of the United States Marshal.

o   The defendant shall surrender to the United States Marshal for this district:

     o    at __      a.m.lp.m. on __    '
     o    as notified by the United States Marshal.

o    The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
     at the date and time specified in a written notice 10 be sent to the defendant by the United States Marshal. If
     the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

     o    before 2pm on                                                                               _

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on release,
the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a condition of
release, the defendant shall be subject to the sanctions set forth in Title 18 V.S.c. ~3148. Any bond or
property posted may be forfeited and judgment entered against the defendant and the surety in the full
amount of the bond.

                                                                        RETURN

I have executed this judgment as follows:

     Defendant delivered on __                    to __         at __          , with a certified copy of this judgment.



                                                                               UNITED STATES MARSHAL


                                                                               By:                                                        _
                                                                               DEPUTY U.S. MARSHAL
                       Case 1:18-cr-00066-DKC Document 101 Filed 11/20/18 Page 3 of 6
Sheet 3 - Judgment in a Criminal Case with Supervised Release (Rev. 0412018)                                              Judgment Page 3 of 6
     DEFENDANT:       Donald Marcell Rivers, Jr.                                          CASE NUMBER: DKC- I- I 8-CR-00066-00 I


                                                         SUPERVISED            RELEASE
   Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years,
concurrent on counts 2s and 3s.

The defendant shall comply with all of the following conditions:

   The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                                                A.       MANDATORY             CONDITIONS
I)    You must not commit another federal, state or local crime.
2)    You must not unlawfully possess a controlled substance.
3)    You must reITain ITom any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
       o   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse. (check if applicable)
4)    0 You must make restitution in accordance with 18 U.S.C. ~~ 3663 and 3663A or any other statute authorizing a sentence of
      restitution. (check if applicable)
5)    You must cooperate in the collection of DNA as directed by the probation officer.
6)    0 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. ~ 20901, ef seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted ofa qualifYing offense. (check if applicable)
7)    0 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page
                                B.       STANDARD CONDITIONS                      OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I)    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time ITame.
2)    After initially reporting to the probation office, you will receive instructions ITom the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3)    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission ITom
      the court or the probation officer.
4)    You must answer truthfully the questions asked by your probation officer.
5)    You must Jive at a place approved by the probation officer. If you plan to change where you live or anything about your Jiving
      arrangements (such as the people you Jive with), you must notifY the probation officer at least 10 days before the change. IfnotifYing
      the probation officer in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72
      hours of becoming aware ofa change or expected change.
6)    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7)    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you ITom
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. Ifnotifying the probation officer at least
       10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8)    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
                       Case 1:18-cr-00066-DKC Document 101 Filed 11/20/18 Page 4 of 6

Sheet 4 - Judgment in a Criminal Case with Supervised Release (Rev. 0412018)                                          Judgment Page 4 of 6
 DEFENDANT:           Donald Marcell Rivers, Jr.                                       CASE NUMBER: DKC-I-18-CR-00066-00             I


9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (Le., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
II) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the coun.
12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13) You must follow the instructions of the probation officer related to the conditions of supervision.


                                                    C. SUPERVISED RELEASE
                                                    ADDITIONAL CONDITIONS


1:8:1 MENTAL      HEALTH TREATMENT
You must participate in a mental health treatment program and follow the rules and regulations of that program.
The probation officer, in consultation with the treatment provider, will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.).


1:8:1 DRUG TREATMENT
You must participate in a substance abuse treatment program and follow the rules and regulations of that program.
The probation officer will supervise your participation in the program (provider, location, modality, duration,
intensity, etc.).


1:8:1 SUBSTANCE ABUSE TESTING
You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not
attempt to obstruct or tamper with the testing methods.


1:8:1 VOCATIONAL         SERVICES PROGRAM
You must participate in a vocational services program and follow the rules and regulations of that program. Such
a program may include job readiness training and skills development training.




U.S. Probation     Office Use Only

 A U.S. probation officer has instructed me on the conditions specified by the coun and has provided me with a written copy of this
judgment containing th'ese conditions. For funher information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: \\'ww.uscourts.gov.


Defendant's Signature                                                      _   Date
                       Case 1:18-cr-00066-DKC Document 101 Filed 11/20/18 Page 5 of 6

Sheet 5. Part A - Judgment in a Criminal Case with Supervised Rdeasc (Rev, 0412018)                                                 Judgment Page 5 of 6
 DEFENDANT:           Donald Marcell Rivers, Jr.                                                            CASE NUMBER: DKC-I-18-CR.00066-00      I


                                             CRIMINAL MONETARY                                    PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                           Assessment                                           Fine                                  Restitution
   TOTALS
                           $200.00                                              $.00                                  $.00
   o       CVB Processing Fee $30.00



   o       The determination of restitution is deferred until                             _       An Amended Judgment in a Criminal Case (AO 245C)
                                                                                                  will be entered after such determination.

   o       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a pania! payment, each payee shall receive an approximately proponioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. S 3664(i), all nonfederal
        victims must be paid before the United States is paid.
           Name of Pa\'ee                  Total Loss.                  Restitution Ordered              Priority or Percentage
                                                                                           $.00




   TOTALS                                $                                        $                   $0.00


   o     Restitution amount ordered pursuant to plea agreement

   o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day afterthe date of the judgment, pursuant to 18 U.S.C. S 3612(1). All of the payment options on Sheet 6
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. S 3612(g).

   o     The coun determined that the defendant does not have the ability to pay interest and it is ordered that:

         o    the interest requirement is waived for the           0     fine         o       restitution

         o the interest requirement for the 0 fine 0 restitution is modified as follows:
   • Findings for the total amount of losses are required under Chapters 109A, 110, II OA, and II3A of Title 18 for offenses committed
   on or after September 13,1994, but before April 23, 1996.
                       Case 1:18-cr-00066-DKC Document 101 Filed 11/20/18 Page 6 of 6

Sheet 6 - Judgment in a Criminal Case with Supervised Release (Rev. 0412018)                                                 Judgment Page 6 of 6
    DEFENDANT:        Donald Marcell Rivers, Jr.                                                CASE NUMBER: DKC-I-18-CR.00066-00           I

                                                     SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


     Payment of the total fine and other criminal monetaty penalties shall be due as follows:

A     !8J In full immediately; or


B     0 $            immediately. balance due (in accordance with C, 0, or E); or

C    0 Not later than               ; or

o    0 Installments to commence                     day(s) after the date of this judgment.

E    0 In       __    (e.g. equal weekly, monthly, quarterly) installments of $               over a period of      year(s) to commence when
          the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties
shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Bureau of
Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

o  NO RESTITUTION OR OTHER FINANCIAL                              PENALTY      SHALL BE COLLECTED          THROUGH    THE INMATE
FINANCIAL RESPONSIBILITY PROGRAM.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

     o    in equal monthly installments during the term of supervision; or

     o    on a nominal payment schedule of $                   per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

o    Joint and Several

     Defendant and Co. Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:
